     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 1 of 14



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 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Victor Antonio Parsons, et al.,                 No. CV-12-0601-PHX-DKD
10                 Plaintiffs,
11   v.                                              ORDER
12   Charles L. Ryan, et al.,
13                 Defendants.
14
15
16          Defendants have moved to terminate their monitoring of most of the performance
17   measures covered by the Stipulation. (Doc. 2251) Plaintiffs raise several categories of
18   objections and also concede that termination is appropriate in some instances. (Doc.
19   2344, 2819)
20          Defendants’ motion to terminate is the first of its kind in this case and raises
21   several questions about how to interpret the Stipulation’s termination provision contained
22   in paragraph 10(b):
23          The measurement and reporting process for performance measures, as
            described in Paragraph 9, will determine (1) whether ADC has complied
24          with particular performance measures at particular complexes, (2) whether
            the health care provisions of this Stipulation may terminate as to particular
25          performance measures at particular complexes, as set forth in the following
            sub-paragraphs.
26
                   b. Termination of the duty to measure and report on a
27                 particular performance measure: ADC’s duty to measure
                   and report on a particular performance measure, as described
28                 in Paragraph 9, terminates if:
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 2 of 14



 1                 i. The particular performance measure that applies to a
                   specific complex is in compliance, as defined in sub-
 2                 paragraph A of this Paragraph, for eighteen months out of a
                   twenty-four month period; and
 3
                   ii. The particular performance measure has not been out of
 4                 compliance, as defined in sub-paragraph A of this Paragraph,
                   for three or more consecutive months within the past 18-
 5                 month period.
 6
     (Doc. 1185 at 4-5) Several predicate questions remain unanswered by this text and so the
 7
     Court must answer these questions before determining which performance measures at
 8
     which locations can exit the Stipulation.
 9
                                            Burden of Proof
10
            Defendants argue that paragraph 10(b) of the Stipulation provides for an automatic
11
     exit and that Plaintiffs have the burden of proving that a performance measure/location
12
     should remain covered by the Stipulation. (Docs. 2251, 2407) The Court disagrees; the
13
     relevant text is silent as to the termination’s mechanism and any burden of proof.
14
     Reading the Stipulation as a whole, the Court concludes that Defendants may move to
15
     terminate if they contend they have the qualifying months, but the Court’s oversight
16
     function requires the Court to rule on termination based on all of the information before
17
     the Court at the time of the ruling.
18
            The Court notes that this interpretation of the Stipulation is consistent with the
19
     Court’s statutory obligation under the Prison Litigation Reform Act which states that
20
     “prospective relief shall not terminate if the court makes written findings based on the
21
     record that prospective relief remains necessary to correct a current and ongoing
22
     violation.” 18 U.S.C. § 3626(b)(3). To satisfy this requirement, the Court must know the
23
     current conditions of health care and must know that the CGAR data is accurate and
24
     reliable.
25
                                            Which 24 months
26
            Paragraph 10(b)(i) requires compliance for 18 months out of a 24 month period.
27
     By definition, after 25 months of monitoring, there is a choice about which 24 month
28
     period applies to this sub-paragraph. The Stipulation does not specify which 24 months


                                                 -2-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 3 of 14



 1   period applies and so this requirement could cover the first 24 months, the most recent 24
 2   months, or something in between.
 3          Paragraph 10(b)(ii) requires a look-back to “the past 18-month period.” Reading
 4   these two sub-paragraphs together, and in conjunction with 18 U.S.C. § 3626(b)(3), the
 5   Court concludes that the proper way to evaluate this requirement is—generally1—to look
 6   back 24 months from the month the motion is filed.
 7                                       Final Procedures
 8          Several times, the parties have agreed to modify how the CGAR data is collected
 9   and, when agreement could not be reached, the Court has had to order specific reporting
10   procedures (“Final Procedure”). Nearly 18 months ago, and consistent with binding
11   precedent, the Court informed Defendants that they did not have to recalculate CGAR
12   data but could not rely on CGAR data calculated under discredited methods. (Doc. 1951)
13   Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reservation v. California,
14   813 F.3d 1155, 1165 (9th Cir. 2015) (“Once a court has interpreted an ambiguous contract
15   provision that is and has always been the correct interpretation from its formation.”) Put
16   another way, the 24-month period required by Paragraph 10(b) begins from the first
17   month of data collected under a Final Procedure and so a performance measure is only
18   eligible for termination under the Stipulation if there are 24 months of accurate and
19   reliable data as measured by a Final Procedure.
20          Defendant Pratt testified that, with one possible exception, CGARs have not been
21   recalculated under Court-ordered methodologies. (Doc. 2770 at 192-193) The more
22   recent implementation of Final Procedures means that none of the performance measures
23   subject to a remediation plan are eligible to exit the Stipulation and so the Court need not
24   address the currently-hypothetical relationship between a remediation plan and
25   termination.
26   ...
27
28          1
             As detailed herein, this lookback period may be longer in a specific instance
     depending on, for example, N/A results or changes in data collection.

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     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 4 of 14



 1              “N/A” and Termination of Inapplicable Performance Measures
 2         At a status conference with the parties, the Court stated that “common sense
 3   arguments” about N/A results would be accepted. This statement was in the context of
 4   counsel’s discussion about measuring Pap smears at prisons that only house men. (Doc.
 5   1956 at 67-70)
 6         The Court informed the parties that months with “N/A” results would not count
 7   either for or against termination. This means that the lookback period would be extended
 8   to capture 24 months of data. For example, PM 14 at Winslow had five N/A results in
 9   January 2016, May 2016, October 2016, December 2016, and January 2017. (Doc. 2251-
10   1 at 42) This means that a look back period that begins in June 2017 must extend back
11   another five months to February 2015.2
12         The Court notes that there are several performance measures where the CGARs
13   are inexplicably littered with N/A results. Instead of providing an affidavit or another
14   form of competent and admissible evidence, counsel for Defendants has stated various
15   hypothetical possibilities to explain away the N/A results. (Doc. 2407 at 10-13, 18:7)
16   This is insufficient and is an argument that the Court will not entertain. (Doc. 1956 at
17   70:9-10)
18         Defendants have not explicitly moved to terminate monitoring of “common sense”
19   categories but simply informed the Court that they have “no duty” to monitor these
20   performance measures. See, generally, Doc. 2251-1. Defendants’ posture aside, the
21   Court will terminate monitoring for PM/locations that it understands are inapplicable.3
22         First, the performance measures that apply to infirmaries do not need to be
23   monitored at prisons without an infirmary.        The Court understands that the only
24   complexes with infirmaries are Florence, Lewis, Perryville, and Tucson. (Doc. 2251-1 at
25
           2
               This also means that, monitoring methodology aside, PM 14 at Winslow cannot
26   exit the Stipulation because the 18 month lookback extends to August 2015 and includes
     four consecutive months of non-compliance from August 2015 to November 2015.
27
           3
             If Defendants change their operations in a way that impacts this ruling such that,
28   for example, women are at other facilities or the location of intake units is changed, the
     Court may proceed accordingly.

                                                -4-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 5 of 14



 1   ¶¶ 225, 231, 235, 243, 251)      Accordingly, the Court will terminate monitoring of
 2   infirmary-related performance measures—PM 63, 64, 65, 68, and 70—at prisons without
 3   infirmaries, namely Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma.4
 4         Second, performance measures that apply only to women—PM 57, 58, 60, 61, and
 5   74—do not need to be monitored at prisons that only house men. However, Defendant
 6   Pratt avowed that one performance measure involving post-natal care (PM74) applies in
 7   Perryville and Phoenix.    (Doc. 2251-1 at ¶ 261)      However, he also avowed that
 8   performance measures involving pre-natal care (PM 57 and PM 58) and Pap smears (PM
 9   60) only apply in Perryville. (Doc. 2251-1 at ¶¶ 204, 208, 217) This inconsistency about
10   the women prisoners in Phoenix may have a straightforward explanation but Phoenix
11   cannot exit these women-only performance measures based on the information currently
12   before the Court. Accordingly, the Court will deny without prejudice Defendants’ motion
13   to terminate monitoring PM 57, 58, 60, 61, and 74 at Phoenix.
14         Finally, the Court agrees that performance measures that apply to intake
15   procedures do not need to be monitored at prisons where no intake occurs. Accordingly,
16   the Court will terminate monitoring PM 33, 34, 62, 75, and 76 at Douglas, Florence,
17   Lewis, Safford, Winslow, and Yuma.
18         Specific Issues. Plaintiffs argue that Defendants’ motion should be denied for PM
19   40 at Tucson. (Doc. 2344 at 41:8) Because Defendants did not move for termination of
20   PM 40 at Tucson, this issue is moot. (Doc. 2251 at 6:5-6; Doc. 2251-1 at 18)
21         Defendants argue that they are entitled to terminate PM 42 at Lewis. (Doc. 2251
22   at 6:9, Doc. 2407 at 18:16-20) However, Defendant Pratt’s declaration did not include
23   any reference to PM 42 at Lewis. (Doc. 2251 at 19:1-14) Thus, separate from any data
24   collection or monitoring methodology issues, PM 42 at Lewis is not eligible for
25   termination.
26   ...
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28         4
             The Court notes that Defendants’ Motion does not address PM 66. Compare
     Doc. 2251 at 7:11-12 with Doc. 2251-1 at ¶¶238-39.

                                               -5-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 6 of 14



 1          Plaintiffs’ Stipulations. Plaintiffs have agreed to terminate monitoring of PM 7,
 2   38, 56, and 71. (Doc. 2819) The Court will do so.
 3                The Validity, Reliability, and Accuracy of the CGAR Data5
 4          Defendants collect and report the CGAR data that determines whether they are in
 5   compliance with the Stipulation’s performance measures. Thus, the CGAR data that is
 6   the foundation for the operation of the Stipulation is entirely within Defendants’ control.
 7   For the past several years, Plaintiffs have raised various challenges to the collection and
 8   verification of that data. In response, and as detailed on the record, the Court has
 9   invested a significant amount of time understanding the data collection process and the
10   implications of Defendants’ different data reporting methods. The Court had addressed
11   various minutiae of this process in an on-going attempt to obtain valid, reliable, and
12   accurate CGAR data. At this point, the inescapable conclusion is there are profound and
13   systemic concerns with the monitoring process at every stage of the process.
14          eOMIS. eOMIS is the electronic medical record system that Corizon providers
15   use to document their care to inmates. ADC’s Monitoring Bureau, in turn, relies on
16   eOMIS records to calculate the CGARs. Therefore, the integrity of eOMIS is crucial.
17          The evidence before the Court is that eOMIS is not an accurate reflection of the
18   care provided because providers can back-date entries in eOMIS and do not have to
19   document that a late entry is late. In other words, “the health care staff at Corizon are
20   able to go into eOMIS and change and manipulate the dates of requests to an earlier
21   date.” (Doc. 2671 at 166; Ex. 190)
22          The Court heard testimony from Cecilia Edwards, a credible witness and a
23   Corizon employee, that she was instructed to cancel consults because Corizon had not yet
24   obtained additional information, such as charts from outside providers or testing, or
25
26          5
               This Order will only discuss the problems with the CGAR data and will not
     detail the related and concerning information presented to the Court such as exhibits
27   where the date and day did not match (Doc. 2329 at 38, 104-105,166, 241-242, 277),
     testimony that Corizon does not pay its outside providers (Doc. 2244 at 93-97; Doc. 2876
28   at 40-42, 58), and Defendants apparently incorrect allegations that one of the oncology
     providers had filed for bankruptcy without any prior notification (Doc. 2635).

                                                -6-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 7 of 14



 1   because there was no specialist available to see the patient.      (Doc. 2876 at 18-19)
 2   Utilization Management instructed Edwards to cancel and then resubmit the consult
 3   request when the additional information was available. (Doc. 2876 at 18, 113, 126) This
 4   was done to avoid violating the Stipulation’s timelines.        (Doc 2876 at 128) She
 5   understood that she could wait but also that waiting would create non-compliance: this is
 6   a decision made by providers. (Doc. 2876 at 18) She was instructed to cancel a pending
 7   consult for these reasons an average of five times a month. (Doc. 2876 at 19) For ENT
 8   care, she has not cancelled consults and instead left them in place. (Doc. 2876 at 43-44)
 9         Other examples of potential systemic weaknesses exist. Corizon does not provide
10   all new providers with their own username/password immediately and so providers share.
11   (Doc. 2670 at 29-31; Ex. 4) This means that an entry in eOMIS may be attributed to the
12   wrong provider.
13         The Court recently heard from multiple witnesses about changes and limitations in
14   eOMIS. Approximately four times last year, eOMIS “[went] down” and was sometimes
15   inoperable all day. When that happens, providers had to “write the full note on a piece of
16   paper and hang on to it until eOMIS is back up and running and then [providers] have to
17   spend time inputting that information.” (Doc. 2690 at 74-75) When eOMIS is down,
18   there is no backup for the “extremely important” information in eOMIS such as progress
19   notes or written orders. (Tr. 6-12-18 at 68) There is no evidence that Corizon has
20   implemented any kind of eOMIS back-up or that busy providers do, in fact, input the
21   paper information when eOMIS is working again.
22         Plaintiffs have raised other concerns about eOMIS documentation. For example,
23   Plaintiffs noted nearly two dozen instances where IPC encounters started at precisely the
24   start of the hour. (Doc. 2426-1 at 20-21) Also, during recent testimony, the Court heard
25   that a new drop-down menu was going to be added to eOMIS. (Doc. 2895 at 215) Lisa
26   McNeal, an ADC employee, testified that she had learned at a meeting that “a non-
27   formulary button had kind of disappeared within eOMIS.” (Doc. 2895 at 184:1) Finally,
28   the Court learned that Corizon does not want providers to schedule consults 6 months


                                                -7-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 8 of 14



 1   ahead of time but there is no tickler system for reminding providers to schedule consults,
 2   and there is no system to ensure that consults are scheduled even if there is provider
 3   turnover. (Doc. 2895 at 80-84)
 4           Simply put, the credible evidence before the Court indicates that eOMIS allows
 5   providers to create dishonest and untraceable entries in an inmate’s medical record, that
 6   Corizon has manipulated categories of records to comply with the Stipulation’s time
 7   frames, and that Corizon has not ensured the integrity of its electronic medical records
 8   system.
 9           Number of Records Reviewed.           The Monitoring Bureau picks a seemingly
10   arbitrary number of records to review for each Performance Measure. Although the
11   Court understands that using more than 10 records could lead to more accurate
12   information—the larger the pool reviewed, the more information gleaned—there is no
13   apparent rhyme or reason to the number of records ADC reviews. These decisions can be
14   dispositive to a finding of non-compliance.
15           For example: in January 2018’s CGAR report, PM 51 at Florence listed 49 of 56
16   records as compliant. (Doc. 2711 at 112-113) Thus, according to the CGAR report,
17   there were at least 7 instances of non-compliance. The first list submitted for the Order
18   to Show Cause hearing (“OSC List”) had 5 instances of non-compliance for PM
19   51/Florence in January 2018 and the amended list had 12 instances where each instance
20   was a different inmate. (Doc. 2815-2 at 15) Adding the 12 instances of non-compliance
21   from the final OSC list and the 49 instances of compliance from the CGAR report, it
22   appears that there was a pool of 61 instances that the Monitoring Bureau could have
23   included in the CGAR.6 If all 61 instances had been included, this performance measure
24   would not have met the Stipulation’s threshold of 85%: 49/61=80%. But because only 56
25   records were included, the performance measure was documented on the CGAR report as
26   compliant: 49/56=88%.
27
28           6
                 There could be many more than 61 records for PM 51 at Florence in January
     2018.

                                               -8-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 9 of 14



 1           Escalation Cases vs CGAR Report. The Court expected that recent testimony
 2   would buttress the integrity of the CGAR reports. The opposite occurred.
 3           For example, on Friday, July 28, 2017, Karen Padron, a Program Evaluation
 4   Specialist in the ADC Monitoring Bureau, emailed Dr. Robertson about Inmate 40 at
 5   Phoenix:
 6           I am working on PM 50-52 and ran across this consult that was cancelled
             by the regional medical director and wondered if you were aware and that
 7           nothing has been pursued since 4/20. . . . Thought you might want to be
             aware that this IM appears to not be getting an evaluation he needs in order
 8           to be appropriately treated.
 9
     (Ex. 85) Ms. Padron’s email indicates that Inmate 40’s care was not compliant with the
10
     Stipulation and that his records were part of her review for that months’ CGAR. On
11
     Monday, July 31, 2017, Ms. Padron entered the June 2017 CGARs for PM 50, PM 51,
12
     and PM 52 in Phoenix. She reviewed 5 records for PM 50, 9 records for PM 51, and 11
13
     records for PM 52. Inmate 40 is not included in the CGARs for PM 50, PM 51, or PM
14
     52. (Doc. 2247 at 264-265) Because of the Stipulation’s monitoring requirements of
15
     reviewing at least 10 records, and the fact that Ms. Padron reviewed fewer for PM 50 and
16
     51, the Court concludes that Ms. Padron should have reviewed the entire universe of
17
     possible records for PM 50 and PM 51 in Phoenix for the June 2017 CGARs.7 (Doc.
18
     1185-1 at 26) Thus, it is inexplicable that Ms. Padron reviewed Inmate 40’s records on a
19
     Friday and then did not include him on Monday’s report. The system is not working
20
     when an individual Monitor flags someone for not receiving timely care and then doesn’t
21
     include that person in the CGAR analysis.
22
             A different email indicates different concerns. On Monday, August 7, 2017,
23
     Marlena Bedoya, a Monitor for ASP-Tucson, emailed Dr. Robertson and several others
24
     about Inmate 23:
25
             I think I found another Cancer. I came across this chart while auditing and
26           saw his Cancer diagnosis, went into the latest consult – and found these
27
28           7
                 Inmate 40 does not appear in the July 2018 CGARs for PM 50, 51, or 52. (Doc.
     2333)

                                                 -9-
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 10 of 14



 1         comments. I just don’t understand why they continue to state “need more
           info” if he has ongoing cancer. . . .
 2
 3   Ms. Bedoya then detailed portions of Inmate 23’s July 2017 medical record. As part of
 4   the response emails, Vanessa Headstream told Ms. Bedoya, “When you find oddities or
 5   areas of concern in any i/m [inmate] record, please alert both Dr. Robertson and myself to
 6   them. Each case is added to my tracking and f/u caseload.” (Ex. 154)
 7         For the July 2017 CGARs, Ms. Bedoya documented Inmate 23 as compliant in
 8   several CGARs, including performance measures for access to care (PM 40, 41, 43, 44)
 9   and specialty care (PM 50, 51, 52). (Doc. 2333 at 332-333, 337-339) In other words, a
10   conscientiousness individual was so concerned that she escalated his records to a
11   supervisor but the established system did not catch any concerns with his care. Again,
12   something is not working when an individual Monitor flags someone for receiving
13   insufficient care and then still marks that inmate as compliant with the CGARs.
14         This lacuna indicates that the Monitoring Guide was written, or is being used, in a
15   way that documents compliance even when appropriate care is not being provided to
16   inmates.
17         Monitoring Guide.       The Monitoring Bureau uses a document called the
18   “Monitoring Guide” to determine whether the eOMIS records are compliant with the
19   Stipulation. The Court has repeatedly attempted to understand the monitoring process
20   and specific issues therein. (Doc. 1915 at 3) These investments have had limited returns.
21   For example, the Court attempted to understand the CGARs for PM 85 and 86 and
22   Defendants’ explanation did not clarify the matter. (Doc. 2587)
23         Defendants’ Filings.      Other submissions by Defendants are inexplicably
24   inconsistent. For example, when Defendants first submitted their March 2018 charts, PM
25   35 at Florence was listed at 82% and, in an amended filing, it was listed at 88%. (Doc.
26   2801-1 at 61; 2803-1 at 2) Subsequently, Defendants filed their monthly CGAR report
27   for March 2018 which listed PM 35 at Florence at 86.27%. (Doc. 2836 at 107-108) This
28   means that this PM/location was modified at least twice—first up to 88% and then down


                                               - 10 -
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 11 of 14



 1   to 86%—with no explanation and no paper trail. This lack of audit integrity causes the
 2   Court to question the audit process overall.
 3          Evidentiary Hearing.     The Court recently concluded an extensive evidentiary
 4   hearing into allegations that Corizon had instructed a provider on ways to “beat the
 5   monitor.” The evidence presented to the Court was also enough to raise questions about
 6   the integrity of the state’s CGAR system.
 7          In one example, Ms. Edwards testified that Defendants—in an apparently
 8   unilateral decision—changed optometry from the “appointments” category to the
 9   “consults” category. (Doc. 2876 at 11-12) By making this change, Defendants moved
10   optometry care from a shorter timeframe under the Stipulation to a longer one and gave
11   themselves additional time to provide the same care. (Doc. 2876 at 11-12)
12          As part of this change from appointments to consults, Corizon cancelled all
13   pending appointments and initiated consult requests. (Doc. 2876 at 12-13) The consult
14   requests did not accurately capture the previous appointment request date. In other
15   words, Corizon re-categorized a category of care in a way that allowed them to take
16   additional time to provide the care and that did not permit an accurate assessment of
17   whether or not there had been compliance with the relevant performance measure. (Doc.
18   2867 at 15)
19          Examples like this indicate that Defendants and their contractor are at times more
20   interested in obtaining compliance with the Stipulation by playing a shell game than by
21   providing care to the Plaintiff Class.
22          Expert Review.      Although the Stipulation is focused on aggregate numbers,
23   compliance can be a life-or-death matter for inmates. (Doc. 2876 at 59-66) In one
24   example, in November 2017, Matilde Smith, the Eyman Assistant Facility Health
25   Administrator, told her supervisor that “[i]n the last month and a half we have sent out 3
26   Inmates who were on the [chronic care] Backlog at Cook unit to local ER with life
27   threatening issues which correlate with their chronic conditions, 1 of which expired at
28   hospital.” (Ex. 213)


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     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 12 of 14



 1          Because the stakes could not be higher, the Court cannot release Performance
 2   Measures from the Stipulation without confirmation that a compliant CGAR is a valid,
 3   reliable, and accurate indicator that Defendants have provided Class Members the care
 4   required by the Stipulation.      Each of the examples above, when taken together,
 5   demonstrates that the Court cannot be confident that the CGARs demonstrate compliance
 6   with the Stipulation. To provide confidence, the Court will retain a Rule 706 expert, paid
 7   for by Defendants, who will review the entire monitoring process. This review shall
 8   include the issues noted above and shall include, but is not limited to, a review of eOMIS,
 9   the Monitoring Guide as written and as applied including the sampling process and the
10   number of records reviewed, the ADC/Corizon challenge process, and the metadata/trail
11   of any subsequent modifications. If the expert concludes that any of the CGARs are not,
12   in fact, valid, reliable, or accurate, the expert shall develop remedial measures that will
13   permit the collection and submission of valid, reliable, and accurate CGARs.
14          Although the Court has determined that an expert is necessary to evaluate the
15   efficacy and reliability of the Monitoring Guide and its procedures, the Court also
16   recognizes that committed and conscientious overseers exist within the system.
17   Nevertheless, sufficient questions have been raised about the audit system’s integrity to
18   warrant this expert review. As the Court has explained previously, the state and its
19   contractor have incentives to under report noncompliance. This fact does not mean such
20   conduct is ineluctable—indeed the many months or reported failures to meet the
21   Performance Measures suggest otherwise —however the potential bias of not wanting to
22   report one’s errors and the evidence of structural weaknesses in the monitoring program
23   demand a high level of audit integrity.
24          IT IS THEREFORE ORDERED granting in part and denying in part
25   Defendants Motion to Terminate Monitoring (Doc. 2251). The following performance
26   measures at the following locations will be terminated for the reasons described above:
27       PM 7 at all 10 facilities;
28       PM 33 at Douglas, Florence, Lewis, Safford, Winslow, and Yuma;


                                               - 12 -
     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 13 of 14



 1          PM 34 at Douglas, Florence, Lewis, Safford, Winslow, and Yuma;
 2          PM 38 at all 10 facilities;
 3          PM 56 at all 10 facilities;
 4          PM 57 at Douglas, Eyman, Florence, Lewis, Safford, Tucson, Winslow, and
 5            Yuma;
 6          PM 58 at at Douglas, Eyman, Florence, Lewis, Safford, Tucson, Winslow, and
 7            Yuma;
 8          PM 60 at Douglas, Eyman, Florence, Lewis, Safford, Tucson, Winslow, and
 9            Yuma;
10          PM 61 at Douglas, Eyman, Florence, Lewis, Safford, Tucson, Winslow, and
11            Yuma;
12          PM 62 at Douglas, Florence, Lewis, Safford, Winslow, and Yuma;
13          PM 63 at Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma;
14          PM 64 at Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma;
15          PM 65 at Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma;
16          PM 68 at Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma;
17          PM 70 at Douglas, Eyman, Phoenix, Safford, Winslow, and Yuma;
18          PM 71 at all 10 facilities;
19          PM 74 at Douglas, Eyman, Florence, Lewis, Safford, Tucson, Winslow, and
20            Yuma;
21          PM 75 at Douglas, Florence, Lewis, Safford, Winslow, and Yuma; and
22          PM 76 at Douglas, Florence, Lewis, Safford, Winslow, and Yuma.
23   ...
24   ...
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26   ...
27   ...
28   ...


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     Case 2:12-cv-00601-ROS Document 2900 Filed 06/22/18 Page 14 of 14



 1           IT IS FURTHER ORDERED that, within 30 days of the date of this Order, the
 2   parties shall each submit the names of two proposed experts who can conduct a review of
 3   the monitoring process, along with their CVs and confirmation of their availability.
 4   Thereafter, the Court will pursue a selection process that may include interviewing a
 5   finalist.
 6           Dated this 22nd day of June, 2018.
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